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      Case 1:23-cv-21361-RNS Document 11 Entered on FLSD Docket 04/14/2023 Page 1 of 7
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                                                            p                     :FILED BY                 D.C ,
                                  IN THE UNITED STATES DISTRICT COURT .
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                                                    1 CT OFFLORIDA                     Agj jj kgkg
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           Teman,Ari                                                   INoEx:123-cv-21361
           m ainte                                                            I
                                                                       42uts.c;
                                                                              i#1983
                                                                                 l
                                                                       COMPLYmTFORCIW LRIGHTS
                                                                       VIOLATJONSAr CONSPM CY
           TlzeCityofMiamiBeach(astçMB'')'                             TO UOMMI
                                                                           j T clvm ltlGl-l'
                                                                                           rs
           TheCity ofM iamiBeach Ol ceoftheCity Attorney,              VIOLATIONS
                                                                                 l
            M iam iDade county                                                   !
                                                                                 5
                                                                                 l
           Nahum Joseph,an individual,
           YoeLopez,an individual,                                               :
           WoodyClermont,anindividual,                                           I
           RafaelPaz an individual,                                              l
                     ,



           M ayorDanielGelber,an individual,
           ViceM ayorStevenM einer,an individual

           JudgeKristyM .Nunez,an individual

           STATE OF IRLOIUDA,
           ELEVENTH CIRCUIT COURT,


           Defendants

                                                                              I
!                                                                             f
    EMERGENCYMOTIONFORORDERDIRECTINGTHEELEVENTHCIRCUITCObRTTOAPPOINTA
    PUBLIC DEFENDER                                                           :
                                                                              l
                                                                              I
    COM ES N0W the Plaintiff,Tem an,proceeding pro se,and respectfully m ovej again,thistim ew ith
    case 1aw citationsthis Courtto issue an Em ergency Orderdirecting the Elevénth CircuitCourtto

    appointa Public Defenderto representthePlaintiffin apendingm isdemeanbrcase,andinsupport
                                                                      ,      I
    thereof,statesas follows:                                                l
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    Case 1:23-cv-21361-RNS Document 11 Entered on FLSD Docket 04/14/2023 Page 2 of 7
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    1. The Plaintifffaces the riskofchangesto bond conditions in his SDQY ca
                                                                           !se(USvTeman,
                                                                            ,

                                                      i                             l
         1:19-cr-00696)resultingfrom anypossiblemisf
                                                   demeanorconvictioiin!
                                                                       ,
                                                                        heEleventhCircuit
         courtofFlorida.
    2 Underthe Sixth Am endm entto the United States Constitution,alldefeni
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                                                                          dants are entitledto the
                                                                          ;
                                                                                  l
         assistance ofcounselfortheirdefense in crim inalprosecutions.Gideorv.W ainwright,372
                                                                            .

                                                                                 l
         U.S.335(1963).                                                          i
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                                                                                 2
    3.TheSupremeCourtheldinArgersingerv.Hamlin,407U.S.25(1972),tha
                                                                Jtabsentaknowing
                                                                                 i

         andintelligentwaiver,nopersonmaybeimprisonedforanyoffense,whetherclassifiedasa
                                                                                 I
                                                                                 I
         petty,m isdem eanor,orfelony,unlessthey were represented by counselattrial.
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    4.Evenwitha'nojailstipulation,'apersonconvictedofamisdemeanorJ,ould be severely
                                                                                1
         harm ed.Forexam ple,collateralconsequences such as lim itations on çm ploym ent

         opportunities,housing,andprofessionalIicensesmayarise.Padillav.ren
                                                                        l
                                                                          tucky,559U.S.356
         (2010).                                                                i
                                                                                l
    5.TheSupremeCourtinPatev.Robinson,383U.S.375(1966),heldthat:
                                                               lacriminaldefendant
         hasaconstitutionalrighttoahearingonmentalcompetencyiftherei)suëcientdoubtasto
                                                                                l
         the defendants
                      ' fitnessto stand trial.An unrepresented defendantm ay!notbe ableto raise this
                                                                                1       I
         issue adequately,and the state m ay notbe able to determ ine the defendants fitnessto stand
                                                                                I
                                                                                l
         trialwithoutrepresentation.Furtherm ore,the state has an incentive,financialand personal
                                                                              f
                                                                                l
         (prosecutorscareabout''convictionrates'llookinggoodinthepréssjorgettingaconviction,
                                                                       i
         etc.)toignoreobvioussignsofmentalillness(temporaqyorpermanel  ?t),orotherIackof
                                                                             I
1
,
         capacity fora defendantto self-represent.Aswell,a m entally ilIpers4n can often nottellthey
                                                                                l
         areunweII,soitcannotbeontheDefendanttodetermineifheisfittd1standtrial.
                                                                      b!
    6. Inthis instance forexam ple,the defendantw as in severe neckand 4ck pain from being
                                                                              !
                                                                          BW cl
         assaulted by a M r.Jesse Kats,a state witness who adm itted on         lfootagethathe did not
                                                                                I
         see Mr.Tem an hitanyone butthen charged atM r.Tem an athigh spel
                                                                        1dandbodysl
                                                                                  ammed
      Case 1:23-cv-21361-RNS Document 11 Entered on FLSD Docket 04/14/2023 Page 3 of 7

                                                                                        I
            him (SeetranscriptofBWC footageinFiling#17
                                                     j0969647 forcase#82.
                                                                        3004803inthe11th'

                                                          1                         :
            circuit),andcouldnotsleepthroughthenightforweeks.Sleepdeptivalionisaserious
                                                                                    i
            condition which renders a person unableto thinkclearly and m ake souid decisions.Som eone
                                                                                    l
            deprived ofsleeptoanextremeextentdueto injuriesfrom anassaultioseverethatawitness
                                                                                 i
            called an am bulance should notbe forced,while in severe pain and sleçp deprived,to
                                                                                    i
            --p-----tu..--If..t-u--.du--b-.---tu-tts-d-f--d--t.-tu-to-uhI-,tu-p.-.-t.ffu---,.-.-
            no state to be able to handle this additionalburden while recovering.
                                                                                    i
       7. Bond conditions m ay be revoked,and a defendantm ay be incarcerated, iftheyviolatetheterm s
                                                                            l'
         oftheirrelease.Theappointmentofcounselwouldensurethedefendjntsdueprocessrights
                                                                        : I
         areprotectedinsuchcircumstances.SeeUnitedStatesv.Salerno,4811U.S.739(1987).
       8 FederalDistrictCourts have ordered state orIocalcourtsto assign counsel
        .
                                                                           i to defendants in
                                                                                    I
                                                                                    l
            thepast.See,e.g.,Gideonv.cochran,203F.Supp.657(N.D.Fla.1962)(orderingthestate
                                                                          i
            courtto appointcounselforthe indigentdefendant),aff'dsubnom.Gideonv.Wainwright,372
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            U.s.aas(196a).                                                          ;
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    AdditionalCase Law Citations
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       9.                                                            I
            Argersingerv.Hamlin,407U.S.25(1972)-SupremeCourtcaseextend
                                                                     .ingtherighttocounsel
                                                                                    l
            to indigentdefendants in m isdem eanorcases where im prisonm entisla possible punishm ent   .

                                                                                    i
!           Again,inthiscase,theDefendantwhoisonBondPendingAppealcodldhavebondconditions
I                                                                                   l
            revokedormodified,orhaveprobation(shouldhenotprevailinhisap'
                                                                       peal,thoughheissurehe
                                                                                l
                                                                                I
            will) modifiedtoextendincarceration.Asthisisbeingdraft theSDNYj
                                                                         1 udgeis deciding ifthis
                                                                                1
            misdemeanorcaseshouldresultinMr.Temanbeingdeniedpermissigntotraveltohisfamily,
                                                                             l
            anotherform ofphysicalconfinem ent.Being denied the rightto travelinternationally,as M r.
                                                                                I
                                                                                l
            Tem an has requested and has been previously given perm ission tb dè so,is effectively a
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Case 1:23-cv-21361-RNS Document 11 Entered on FLSD Docket 04/14/2023
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                                                              !      Page 4 of 7
                                                                                $ ;
      reversedeportation, wherethe m isdem eanorcase causes M r.Tem an toibeunabletoIeavethe
                                                        1                       - l
      countryfreely.HereagaintheIogicofPadillav?
                                               Kentuckymustbeappliq'
                                                               , :
                                                                   dandcounselgranted.
lo.Douglasv.California,372U.S.353(1963)-SupremeCourtcasethathéldthatindigent
                                                               i protection.
   defendantshavearightto counselontheirfirstappealasamatterbfqqual
                                                                                            l
          Becauseanon-lawyercannotpossible Iearnandknow which issues'toI
                                                                       raiseand preservefor
                                                                       l
                                                                    ' j
      appealinthe tim e between an arrestand arraignm ent,and even atrialW ithinthe Speedy Trial
                                                                              I
                                                                            ' l
          rules,denying a defendantcounselfrom the outsetisto perm anently h'
                                                                            arm theirappealand
  .
                                                                            1 j
      even preventissuesfrom being appealable.Ifa defendantisentitlëdtdI counselforan appeal,
                                                                    ' f
      they m ustbe entitled to one forthe preceding trialifonlyforthe purpoàe ofpreserving issues
                                                                                        !
                                                                            -
      f                                                                                 I
          orappeal!                                                         I           j
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                                                                                        i
11.InreGault,387U.S.1(1967)-SupremeCourtcaseestablishingthatjùIvenilesindelinquency
                                                                                        I
      proceedings have the rightto counselunderthe Due Process Clauqeofthe Fourteenth
                                                                         (  .


      Am endm ent.If a Juvenile,w hose record willbe expunged and held cqnf
                                                                         1 ldentialafterthey
                '
                                                                                        I
      reach adulthood,isafforded counsel,then surelysomeoneforwhom àconvictionmayremain
                                                                      I
      ontheirrecord and inthem ediafortieirlifetimeshould beaffordedtheprotectionofcounsel.
                                                                     l
                                                                                    !
IZ.U.S.exrel.Smithv.Baldi,344U.S.561(1953)-SupremeCourtcasetha
                                                            Itreamrmedthatan
                                                                                    i
          indigentdefendantisentitledto the appointm entofcounselin a statel
                                                                           I
                                                                            court.
                                                                                    I
l3.Evittsv.Lucey,469U.S.387(1985)-SupremeCourtcasethatheldthàttherighttocounsel
                                                                        i
          includestherightto effective assistanceofcounselonappeal.Anapj,eaIattorneycannotgive
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          effectiveassistanceiftheycannotraiseissueswhichshouldhavebeqnraisedatthetrial.or
                                                                                    I
          pretrialorpost-trialhearings.Again,because itis the Constitutionalrightofa defendant
                                                        .                           I
l4                                                                                  l
      .   Halber1v.Michigan,545U.S.6O5(2005)-SupremeCourtcasethathyldthatindigent
          defendants who plead guiltyhave a rightto appointed counselforthei
                                                                           I
                                                                            rfirstappeal.
                                                                        -
                                                                           l
15.Itisclearthatwithoutadequatecounsel,adefendantcannotknow th8possibleconsequences I

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          ofa plea orany decision,and asJudge Nunez herselfstatedtoday,4/14/2023 to another
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  Case 1:23-cv-21361-RNS Document 11 Entered on FLSD Docket 04/14/2023 Page 5 of 7
                                                                               1
     'defendantwho w as a non-citizen,the Judge cpnnot
                                                  i offerlegaladvice.Ther
                                                                     I
                                                                        efore,there is
                                                  !                            l
     nobodyinthecourtroom representingtheinterestsofthe defendantsWrho can advisethem on
                                                                       '
                                               J
     implicationsofpleasorotherdecisionswithotitthem being assignèd c'
                                                                     ounselwhenthey
                                                                     I


     CZRROtafford it.                                                          !
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Thisisan EmergencybecausethedefendantisIosingtimetohaveapub'
                                                           Iicàefendergather
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evidenceand preparefortrial                                   j
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  16.      Ifthe defendantprevails,as he should in being appointed a public defender,then he will
                                                                            l
     haveIostthetimeuntilheprevailstohavesaidPublicDefendersofficlIuseinvestigatorsand
                                                                  !
     otherstaffandteam to investigate and preparefora trial,which is ocdur
                                                                        1 ing in Iessthantwo
                                                                           I
     m onths.The Defendantis notskilled inthe Iaw,asYourHonorhas.alrëady dem onstrated by
                                                                     i
                                                                 i
     rejectingthepreviousemergencymotionoverbasicssuchasfailuretolcitecaseIaw.Your
                                                                           1
     Honorprovesthe Plaintiff's point.A plaintiffcannotrepresentthem selves fairly in court and
                                                                 l
     certainlyshouldbeforcedtodoso inacriminaldefensecase,especiâllyonewherebond
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     conditions and possibleparoleconditionscouldbeeffects,andejpeciallywherethere are
                                                                   f
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     othercivilrights issues at-hand such as the police using statem ents about''the Jewish

     community''toconvincewitnessesto changetheirm indinto pressingfchargesagainstthe
                                                                           I
     Jew ish defendant.To quote from the BW C footage provided afterM r.Tem an provided
                                                                           ;
     DefendantNahum Joseph with a copy ofthis CivilRights suit:            ;



           :                                                               j
     12:091 MBPD OFFICER RODRIGUES: You made it an issue today
     12 :15 : RODRIGUES : But the law isn 't fair and you know-
                                                                           l                  ,
     12:20 WITNESS KATS: I just don't want to be put into a position where I m
                                                                     ' ;
                                                                       I
     going to be charged with something
                                                                                  I
Case 1:23-cv-21361-RNS Document 11 Entered
                                        j on FLSD Docket 04/14/2023
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                                                             I
                                                                    Page 6 of 7
                                                                      1           l
                                                                      '           :
   RODRIGUES: I know. But unfortunatelyrpand I mean, welrg tjlking on camera,
                                        :
                                        !                   :
   but you know, it's like- I don't think it will turn into- I mean I'm hoping
                                             !
                   '                         !                                !
                                                                              I
   rlght                                                              '       I

   KATS:Meeither.But I'm afraidhe's ETeman)gpingtoI
                                                  fildsomething.
                                                           i i
   RODRIGUES: But he (Temanl won't speak to us.... And that cqmmunity.
                                                              '      ..the Jewish
                                                                              l
   community . They have their own .                              .           .
                                                                              l
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   EThe BWC clip is suddenly and abruptly ended without any lexplanationaq
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17.Aswell:                                                        ' J
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   KATS: I charged him ETeman! and they EKats' necklacesq bloke
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                                                                  i j
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   MBPD OFFICER RODRIGUES   (13:03): It wouid help if she wapted to press
                                                                              l
   charges. You know what I'm saying?                                         1
                                                                  i       1
   KATS: Werll see what's going to happen                                 I
   KATS: Isa, do you want to press charges?                               i

   SIBLESZ: It will help you? Esiblesz pointing to Katz '(13:16)q
                             '                                            j
   2nd MAT.E CROSSFITTER:Because he's rTeman is1 going to.f
                                                                          i
   KATS : If som ething rolls around, you know-                           '
                                                                          g
                                                           I
   2nd Male CrossFitter (to Pasquale the Caffe Umbria Ownef): nYourre the
   owner, you know our p osition- but we have to p rotect hià (pointinc to Kats)
                                                                          l
   b ecause you know .                                                    :
                                                                          :                           .
                                                                          I
                                                              .           (
   Cafe Owner : Yeah , yeah , yeah, no , no, no .              :
                                                               '
        :                                                      l
   2nd M ale CrossFitter : *'That's a lot of peop le not coming' to the coffee shop
                                                                          1                   .

   anymore . ,,                                               .
                                                                          1
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   MBPD OFFICER REISGO: It doesn't show him (Arij pushing-jbut the story... as
                                                                          I
   long as the story is consistent                        -
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                                         l   .
                                                          ! 'j
                                                          4                           .           .
         ''                              J                  J
'


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      Case 1:23-cv-21361-RNS Document 11 Entered on FLSD Docket 04/14/2023 Page 7 of 7
                                                                           -       !
       I8.W HEREFORE,Plaintiff,Teman,respectfullyreqpeststhatthisCourtisstiean EmergencyOrder
                                                       !                   J 1
          directingtheEleventhCircuitCourtto appointà, Publ
                                                          icDefendertofeprksentthe Plaintiffin the
                                                                                   ,

                                                                                   :
          pending misdemeanorcaseand grantanyotherrelieftheCourtdeemsgjustand proper.
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    CERTIFICATE OFSERVICE


    IHEREBY CERTIFYthatonthis14thdayofApril,2023,lpersonallyfiledtheforegoingdocumentwith
                                                                               i
    the Clerk ofthe Court,who willthen upload itusingthe CM /ECFsystem ,w hich sends notification of
                                                                               l
    suchfiling to aIIcounselofrecord.


    Respectfullysubm itted,


                                                                               !
                                                                               l




                                                       AriTem an
                                                                               1
                                                        Plaintiff,Pro Se       !
                                                                               i
                                                        1521 Alton Road,#888
                                                                               ;
l                                                                              I
i                                                       MiamiBeach,FL33149
!                                                                        I
                                                                               I
                                                                               l
